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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  LUFKIN DIVISION

 NETFLIX, INC.,                                   §
                                                  §
        Plaintiff,                                §
                                                  §       CIVIL ACTION NO. 9:22-CV-00031
 v.                                               §        JUDGE MICHAEL J. TRUNCALE
                                                  §
 LUCAS BABIN,                                     §
                                                  §
        Defendant.                                §

         SECOND SUPPLEMENTAL ORDER ON GRAND JURY DISCOVERY

       In its prior Order Granting Netflix’s Emergency Motion to Obtain Grand Jury Discovery,

this Court found that Netflix had established a “particularized need” for the state grand jury

materials at issue. [Dkt. 34 at 14]. Even so, the Court indicated it would enter an additional order

“consistent with its in camera findings” after further “inspect[ing] the submitted materials and

interrogatory responses.” [Dkt. 34 at 15]. Now, having done so, the Court CONCLUDES that the

submitted materials are not only relevant, but essential to Netflix’s claims, further bolstering the

prior determination that Netflix had shown a “particularized need” for the same.

       It is therefore ORDERED that these grand jury materials shall be available to Netflix

for its reference and use in any future filings or proceedings in this case.

       The grand jury materials will be emailed to Netflix’s Counsel contemporaneously

with the docketing of this Order.

                                SIGNED this 1st day of July, 2022.




                                                               ____________________________
                                                               Michael J. Truncale
                                                               United States District Judge
